                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

  JAMES JILEK, et al., on behalf of himself and      )
  all others similarly situated,                     )
                                                     )
                Plaintiffs,                          )
                                                     )
        vs.                                          )     Case No. 3:23-cv-00818-RJC-DCK
                                                     )
  COMPASS GROUP USA, INC., D/B/A                     )
  Canteen                                            )
                                                     )
        Defendant.                                   )

                   SECOND DECLARATION OF NICOLE C. MUELLER

       I, Nicole C. Mueller, hereby declare and state as follows:

       1.      I am one of the attorneys of record in this matter for Defendant Compass Group

USA, Inc. (“Compass”), admitted to appear in this matter pro hac vice, and am an active member

in good standing with the State Bar of Illinois. I maintain my office at 70 W. Madison Street, Suite

3100, Chicago, Illinois 60602.

       2.      I make this declaration in support of Defendant’s Response in Opposition to

Plaintiff James Jilek’s Motion for Class Certification.

       3.      I have personal knowledge of the matters set forth in this declaration, and if called

upon as a witness I could and would testify competently thereto.

       4.      Attached hereto as Exhibit 14 is a true and correct copy of a series of e-mails I

exchanged with Daniel S. Levy and other counsel for Plaintiffs between November 1, 2022 and

January 5, 2023.




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       5.      Attached hereto as Exhibit 15 is a true and correct copy of a series of e-mails I

exchanged with Anthony Jenkins and Rick Cornfeld, counsel for Plaintiffs, between October 22,

2023 and March 28, 2024.

       6.      On July 19, 2022, Compass produced a Report for its vending machines located in

Florida as a spreadsheet bates labeled CG-0022198. The spreadsheet has over twenty-seven

thousand rows of data. The spreadsheet shows that Compass does not own or operate any vending

machines at Southeast Windows & Glass in Ruskin, Florida. Compass has not attached this

spreadsheet as an exhibit due to its size restrictions but, upon request from this Court, Compass

will provide an electronic version of this document.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



       Executed on April 5, 2024 in Chicago, Illinois.



                                                            /s/ Nicole C. Mueller
                                                            Nicole C. Muller




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